         Case 3:18-cv-01571-HZ            Document 3        Filed 08/27/18       Page 1 of 1




                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



UNITED STATES TRUSTEE                                               Case No.: 3:18−cv−01571−HZ
   Plaintiff,

v.

HOWARD LAW, P.C., et al.
  Defendant.


                                    Civil Case Assignment Order

1.    Presiding Judge: The above referenced case has been filed in the Portland Division of the U.S.
District Court for the District of Oregon and assigned to:




2.    Courtroom Deputy Clerk: Questions about the status or scheduling of this case should be
directed to:

           Jennifer Paget
           Telephone: 503−326−8051
           Email: jennifer_paget@ord.uscourts.gov
3.   Case Administrator/Docket Clerk: Questions about filings or docket entries in this case
should be directed to:

          Telephone: 503−326−8050
4.    Place of Filing: Any paper filings must be submitted to the Clerk of Court, Mark O. Hatfield
U.S. Courthouse, 1000 S.W. Third Ave., Portland, OR, 97204. (See LR 3−1, LR 5−5.)

5.    District Court Website: Information about local rules of practice, CM/ECF electronic filing
requirements, responsibility to redact personal identifiers from filings, and other related information
can be found on the Court's website at ord.uscourts.gov.

DATED: August 27, 2018                               MARY L. MORAN
                                                     Clerk of Court

                                                 by: /s/ E. Oss
                                                     E. Oss, Deputy Clerk




                      Case 16-03013-dwh            Doc 193        Filed 08/27/18
